Entered: August 18th, 2017
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Signed: August 18th, 2017

SO ORDERED




                              IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF MARYLAND
                                          (Greenbelt Division)

        In Re:                                          *
        Anthony R. Harris                               *    Case No.     17-10671 TJC
                                                        *    Chapter      13
                         Debtor                         *
        ***********************************             *
        Cassandra Boston                                *
                                                        *
                             Plaintiff
                                                        *
                                                        *
         v.                                                   Adv. No.      17-00169 TJC
                                                        *
                                                        *
        Anthony R. Harris                               *
                                                        *
                        Defendant                       *
        *************************************




                                             SCHEDULING ORDER

       For good cause appearing, IT IS HEREBY ORDERED, THAT:
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 1.   The parties shall comply with the initial disclosure requirements of Fed.R.Civ.P 26(a).

 2.   Expert witnesses and reports are to be disclosed and furnished by September 18, 2017.

 3.   Counter-designation of expert witnesses and reports are to be disclosed and furnished by
      October 13, 2017.

 4.   Discovery is to be completed by November 16, 2017.

 5.   Dispositive motions by any party by January 2, 2018.

 6.   The original and two copies of the exhibit list and exhibits and list of witnesses are to be
      filed as required by Local Bankruptcy Rule 7016-1(c), and copies exchanged with opposing
      counsel by June 25, 2018. The parties must also file any portion of a deposition or hearing
      transcript that will be offered by a party in its case in chief, and must identify the witness,
      date, line, numbers and pages of the transcript, and provide a copy of same. Any other party
      must make a counter- designation as under Rule 32(a)(6) Fed.R.Civ.P. by July 9, 2018.

           INSTRUCTIONS FOR EXHIBITS REQUIRED TO BE PRE-FILED.

      Each set of pre-filed Exhibits shall be bound, or in loose leaf cover, and shall begin with the
      exhibit list identifying each exhibit by number. Each exhibit shall be tabbed by exhibit
      number.

      IF EXHIBITS ARE NOT PRE-FILED AS REQUIRED BY THIS ORDER, THEY
      MAY BE EXCLUDED FROM EVIDENCE.

 7.   The deadline to object to exhibits and list of witnesses is July 24, 2018. Exhibits not
      objected to in writing will be admitted if offered. Witnesses not objected to in writing will
      be allowed to testify if called.

 8.   All parties must file pre-trial statements in conformity with Local Bankruptcy Rule
      7016-1(b) by July 24, 2018.

 9.   A final pre-trial conference August 1, 2018 at 10:00 am.

10.   Trial time estimate 1 day.

11.   TRIAL IS SET FOR August 8, 2018 at 10:30 am.

12.   Copies of all pleadings are to be served on the U.S. Trustee, 6305 Ivy Lane, Suite 600,
      Greenbelt, Maryland 20770.

SPECIAL NOTICE TO ALL PARTIES:




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FAILURE TO COMPLY WITH THE SCHEDULING ORDER MAY RESULT IN
SANCTIONS BEING IMPOSED BY THE COURT ON THE OFFENDING PARTY,
INCLUDING, BUT NOT LIMITED TO, DISMISSAL OF THE ACTION.

ALL PARTIES ARE ADVISED TO REVIEW CAREFULLY LOCAL RULE 9037-1
CONCERNING THEIR OBLIGATIONS TO LIMIT THE INTRODUCTION OF PRIVATE
INFORMATION AND TO REVIEW TRANSCRIPTS TO REDACT PRIVATE
INFORMATION.


TJC 7/14/2010



                                  End of Order




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